
By the Court.
The only question reserved in this case is, whether a party who, on the trial of an action, takes exceptions to the decision of the court upon the admission of testimony, and to the charges of the court to the jury, and has those exceptions reduced to writing during the term and signed by the judge, may allege error in a petition filed in the district court, without having also made a motion in the court of common pleas for a new trial, on the ground “ of error of law occurring at the trial and excepted to by the party making the application.” We think that he may. The right of exception secured by the code, section 290 et seq., does not depend on the exercise of the right to move for a new trial, secured by the code, section 297 et seq.
The question reserved will be so decided, and the case remanded to the district court for judgment accordingly.
